Case 3:21-cv-00634-FLW-LHG Document 108 Filed 11/02/21 Page 1 of 5 PageID: 6773



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


 SANOFI-AVENTIS U.S. LLC,


                     Plaintiff,

           v.                                           Civil Action No. 3:21-CV-634

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                     Defendants.


                         NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendants respectfully write to provide this Court notice of a recently issued decision

 opining on the ultimate question before this Court: “whether HRSA correctly concluded that Lilly’s”

 (and, by implication, Sanofi’s) “contract pharmacy restrictions violate[] the statutory prohibition on

 overcharging covered entities.” See ECF No. 144, Order on Mots. for Summ. J. at 39, Eli Lilly v.

 Becerra (Lilly), No. 1:21-cv-00081-SEB-MJD (S.D. Ind. Oct. 29, 2021) (attached as Ex. A). Lilly’s

 restrictions on covered entities’ access to 340B-discounted drugs are similar to those adopted by

 Sanofi, in that both manufacturers impose unilateral, extra-statutory conditions on covered entities’

 access to 340B-priced drugs, and the Violation Letter issued to Lilly mirrors the letter issued to

 Sanofi and under review by this Court. In reviewing Lilly’s policy, that court made plain that

 “[r]esolution of this issue turns on the interpretation of the 340B statute” and found that

 “[c]onstruing the 340B statute not to permit drug manufacturers to impose extra-statutory

 conditions on covered entities’ access to discounted medications is not only a permissible

 construction,” but “the construction that best aligns with congressional intent.” Id. at 39, 49.

                                                    1
Case 3:21-cv-00634-FLW-LHG Document 108 Filed 11/02/21 Page 2 of 5 PageID: 6774



         Specifically, the Lilly court held: “Plaintiffs’ construction of the ‘shall … offer’ provision to

 authorize its refusal to honor the 340B price for covered entities’ purchases based solely on delivery

 location or dispensing mechanism, thereby requiring covered entities to pay WAC prices for covered

 outpatient drugs if they do not operate an in-house pharmacy or fail to designate a single contract

 pharmacy Lilly approves for shipment, directly conflicts with the statutory requirement otherwise.” Ex. A at

 46 (emphasis added). Moreover:

         Congress’s use of broad language in enacting this statute and specifically omitting
         any mention of where 340B drugs are to be delivered does not leave room for drug
         manufactures to unilaterally condition or control the availability of their 340B pricing
         to a particular delivery location of their choosing such that covered entities are
         prevented from accessing 340B pricing and required to purchase covered outpatient
         drugs at WAC prices. The fairest and most reasonable interpretation of the 340B statute
         would not authorize drug manufacturers to impose unilateral restrictions on the
         distribution of the drugs that ‘would frustrate Congress’ manifest purpose’ in
         enacting the statute.

  Id. at 46-47 (quoting United States v. Hayes, 555 U.S. 415, 426-27 (2009)) (emphasis added). The Lilly

 court also noted that it was “beyond [its] purview to determine whether purchases made using the

 replenishment model constitute diversion” because “there can be no dispute that Congress

 mandated that any concerns regarding diversion be addressed first through ADR procedures, not in

 federal litigation.” Id. at 47 n.14 (citing 42 U.S.C. § 256b(d)(3)(B)(iv)). And although “Congress may

 at some point choose to amend the statute to directly address … issues” such as “the vast

 proliferation of contract pharmacy arrangements,” “drug manufacturers may not usurp the role

 through unilateral extra-statutory restrictions.” Id. at 49.

         Notwithstanding its clear holding that HRSA’s statutory interpretation is correct, the Lilly

 court set aside the letter as arbitrary and capricious, finding that the agency failed to explain its

 “change in position regarding its authority to enforce potential violations of the 340B statute

 connected to contract pharmacy arrangements.” Id. at 52. In rendering that decision, the court

 agreed “that the agency has consistently espoused the view in non-binding guidance that drug

                                                      2
Case 3:21-cv-00634-FLW-LHG Document 108 Filed 11/02/21 Page 3 of 5 PageID: 6775



 manufacturers must comply with their obligations under the 340B statute regardless of the manner

 in which the covered entity chooses to dispense the drugs and must accommodate all contract

 pharmacy arrangements that the government permits.” Id. at 53. The court nonetheless found that

 the agency had been inconsistent in certain public statements about its enforcement abilities.

 Defendants respectfully note that one of the primary statements relied upon by the Lilly court, an

 unsourced email purportedly sent by an unnamed agency official to a trade-magazine reporter, is

 insufficient to credit as an official position of the agency and is not part of the administrative record

 on which review of the Violation Letter must be based. Even taken at face value, the unnamed

 official is quoted as stating that HRSA can enforce “a clear violation of the 340B statute.” 1 More

 importantly, however, the statements cited by the Lilly court show that HRSA consistently has stated


 1 Nor do the other documents cited by the Lilly court evince any belief that the agency could not
 enforce 340B statutory requirements. The June 11, 2020 letter HRSA sent to Lilly said nothing
 whatsoever about enforcement of the statute, instead pointing out only that its contract-pharmacy
 guidance is not contained in binding regulations—a point not subject to dispute. VLTR_7590
 (discussed Ex. A at 54). Elsewhere, as the Lilly court noted, HRSA acknowledged that it lacks an
 explicit grant of comprehensive rulemaking authority (Ex. A at 54, citing, e.g., VLTR_3272), but that
 also is undisputed and has no bearing on the agency’s ability to enforce the statute. Finally, the Lilly
 court pointed to a communication from a covered entity to HRSA, accurately explaining that the
 non-enforceability of guidance is immaterial because HRSA can enforce the statute against
 manufacturers. Ex. A at 54-55 (citing VLTR_3283). An email from a covered entity cannot be relied
 upon as evidence of HRSA’s interpretation of its own authority—and even putting that aside, the
 cited communication is wholly consistent with HRSA’s own view that it can enforce statutory
 requirements, not guidance. Taken together, HRSA’s statements do not “espouse[] the view that it
 lacked enforcement authority regarding contract pharmacy use,” contra Ex. A at 55, but merely that it
 lacked authority to enforce guidance—which by its nature is not binding.

 This distinction explains HRSA’s different approach where covered entities have been found during
 audits not to have adhered to various elements of HRSA’s contract-pharmacy guidance. See Ex. A at
 57 (discussing GAO Report findings on covered-entity compliance with guidance). As previously
 explained to this Court, HRSA’s 1996 and 2010 guidances state that various provisions directed to
 covered entities’ use of contract pharmacies are suggested elements to avoid duplicate-discounting and
 diversion violations, not requirements of the statute, so of course HRSA would not bring an
 enforcement action for failure to follow suggested provisions found in guidance. That is distinct
 from HRSA’s interpretation that manufacturers not place conditions or restrictions on 340B-
 discount access, which derives from the statute itself. There is thus no conflict between HRSA
 declining to enforce guidance against covered entities and enforcing the statute against
 manufacturers, contra id.; at no time has HRSA disclaimed its ability to enforce the statute itself.
                                                    3
Case 3:21-cv-00634-FLW-LHG Document 108 Filed 11/02/21 Page 4 of 5 PageID: 6776



 that its enforcement authority is limited to violations of the statute itself, not requirements found only in

 guidance, and there can be no dispute either that agency guidance is not legally enforceable or that

 Congress granted HHS authority to enforce the statute against manufacturers. See Astra v. Santa Clara

 Cty., 563 U.S. 110, 117-21 (2011) (rejecting enforcement action by covered entities against drug

 maker and discussing extensively that Congress granted HRSA sole authority to enforce and oversee

 program compliance).

         At bottom, however, vacatur of the May 17 letter issued to Lilly in no way undermines that

 court’s plain holding that Lilly’s policy (and, by implication, other manufacturers’ policies imposing

 similar restrictions) violate the 340B statute itself. And because Lilly’s policy has been deemed

 unlawful, continued imposition of those restrictions to overcharge covered entities and restrict their

 access to 340B drugs will continue to subject Lilly to liability under the statute, including the

 potential imposition of civil monetary penalties already being considered by the Office of the

 Inspector General and potential termination of its PPA (and a corresponding expulsion from

 Medicaid and Medicare Part B coverage) should Lilly persist in its unlawful behavior—even in the

 absence of the May 17 letter or a similar violation letter. 2

         Sanofi makes much of the nuances purportedly distinguishing its “integrity initiative” from

 other contract-pharmacy restrictions, such as Lilly’s, but any such distinctions are without a

 difference because Sanofi’s policy also “impose[s] extra-statutory conditions on covered entities’

 access to discounted medications,” see Ex. A at 49. Defendants respectfully contend that the Lilly

 court correctly and persuasively found that HRSA’s statutory interpretation is correct. This Court

 should similarly hold that Sanofi’s extra-statutory restrictions are equally unlawful.




 2Notably, Sanofi has not asked this Court to set aside the Violation Letter as arbitrary and
 capricious for failure to explain a purported change in position regarding the agency’s authority to
 enforce the statute.
                                                       4
Case 3:21-cv-00634-FLW-LHG Document 108 Filed 11/02/21 Page 5 of 5 PageID: 6777




                                       Respectfully submitted,

 Dated: November 2, 2021               BRIAN NETTER
                                       Deputy Assistant Attorney General

                                       MICHELLE BENNETT
                                       Assistant Branch Director

                                       /s/ Kate Talmor
                                       Kate Talmor
                                       Jody Lowenstein
                                       United States Department of Justice
                                       Civil Division
                                       Federal Programs Branch
                                       1100 L Street NW
                                       Washington, DC 20005
                                       (202) 305-5267
                                       kate.talmor@usdoj.gov

                                       Attorneys for Defendants




                                       5
